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                          EXHIBIT 7
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John Yin

From:                Denver Gingerich <denver@sfconservancy.org>
Sent:                Wednesday, November 27, 2019 7:01 AM
To:                  Aaron Fennimore; Judy Chow
Cc:                  pamela@chesteklegal.com; Karen Sandler
Subject:             Re: [EXTERNAL] Vizio - D24f-F1 - Round 6 ("Re: Copyright Infringement by D24f-F1 Television and XR6P Tablet")



Hi Aaron,

You may already be aware that we have litigated over the issue of GPL in
 the past. In a large lawsuit we had 10 years ago, Samsung was included in the defendants specifically regarding a
television. We settled with Samsung because Samsung provided proper installation information. However, you may
have misunderstood the amount of material that Vizio needs to provide.

Typically, signing keys are not required since it is not necessary that proprietary software on the device that is not a
derivative or derived work of GPLed software function after installation of the GPLed components.

What we are looking for are instructions for installing Linux, BusyBox, and any other GPLed components that Vizio uses
onto the Vizio D24f‐F1 television. If you are interested, we would be happy to have a conference call with your
attorneys to discuss this further and reach a mutually agreeable outcome.

Denver Gingerich
Software Freedom Conservancy


On 2019‐11‐26 4:39 p.m., Aaron Fennimore wrote:
> Denver,
>
> We have been discussing your request with our chip supplier. In the
> meantime, we were hoping to get some clarification on your request for
> “installation instructions.” We are uncertain if the SFC is taking
> the position that it needs to be able to build the source candidate on
> a production device or a non‐production/unsecured device (or some
> other alternative method of verification).
>
> If SFC is requesting to build the candidate on a production device,
> this is something that VIZIO or its chip supplier will be unable to
> provide without posing a serious security risk across VIZIO’s entire
> product line. All VIZIO devices contain encryption that prevents the
> installation of non‐VIZIO signed and released binaries. Allowing the
> installation of unsigned third‐party binaries onto VIZIO devices would
> compromise the security of VIZIO’s devices and the consumers using them.
> It would also violate the security requirements of VIZIO’s application
> partners – requirements that app partners likely impose on all smart
> devices on which their applications reside. Naturally, VIZIO is not in
> a position to take steps that would compromise the security of its
> devices and the end‐users of such devices, or to materially breach the
> contractual obligations made to its app partners. We also do not
> believe such steps are required by GPLv2.
>
> Please advise if you recommend an approach that would account for

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> these concerns. We are happy to see the SFC acknowledge the progress
> we’ve made to date. Nevertheless, please understand that we cannot
> take steps that would jeopardize the security of VIZIO’s products and
> consumers, and that would breach VIZIO’s obligations to its app partners.
>
> Regards,
>
> ‐Aaron
>
> *From: *Denver Gingerich <denver@sfconservancy.org>
> *Date: *Wednesday, November 20, 2019 at 2:01 PM
> *To: *Judy Chow <Judy.Chow@vizio.com>, Aaron Fennimore
> <Aaron.Fennimore@vizio.com>
> *Cc: *"pamela@chesteklegal.com" <pamela@chesteklegal.com>, Karen
> Sandler <karen@sfconservancy.org>
> *Subject: *[EXTERNAL] Vizio ‐ D24f‐F1 ‐ Round 6 ("Re: Copyright
> Infringement by D24f‐F1 Television and XR6P Tablet")
>
> As a summary to what is described below:
>
>
> Vizio's candidate is still missing installation instructions. These
> must be provided to Conservancy by the end of the day on December 4.
>
>
> > ‐‐‐‐‐Original Message‐‐‐‐‐
> > From: Denver Gingerich <denver@sfconservancy.org> > Sent: Friday,
> November 8, 2019 3:13 PM > To: Judy Chow <Judy.Chow@vizio.com>; Aaron
> Fennimore <Aaron.Fennimore@vizio.com> > Cc: pamela@chesteklegal.com;
> Karen Sandler <karen@sfconservancy.org> > Subject: [EXTERNAL] Re:
> Vizio ‐ D24f‐F1 ‐ Round 5 ("Re: Copyright Infringement by D24f‐F1
> Television and XR6P Tablet") > > On 2019‐11‐08 1:52 p.m., Denver
> Gingerich wrote:
> >> We have reviewed the new candidate you sent us and found one of
> the >> files appears to be corrupt or incorrect. In particular, we
> received >> the following file:
> >>
> >> * make ‐ 802,040 bytes with SHA‐256 checksum >>
> 33a01c1734640a5420c446fb874d0413be551256e6da6150daf32156a124d074
> > [...]
> >> Could you please send us the corrected file so we can try the
> build again?
> >
> > Also, please note that if this "make" file is a version of GNU
> make, then you will need to provide the source code for this file as
> well (since GNU make is licensed under the GPL, similar to the
> toolchain you provided some source for already).
> >
> > If you don't have the "make" source code immediately available,
> please just send us the corrected "make" file in the meantime so we
> can review the rest of the candidate right away ‐ we can evaluate the "make"
> source code once you are able to send it.

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> >
> > Denver
>
> On 2019‐11‐13 5:31 p.m., Judy Chow wrote:
> > Hi Denver,
> >
> > Our chipmaker suggested that you replace the previous "make" file
> with the one included in the attached zip. There seems to be a
> discrepancy in file size once downloaded, as your reported size of
> "802,040 bytes" is higher than expected, so it may be the way the file
> is packaged or downloaded. Let's try this "make" and go from there.
>
>
> Before I begin, let me stress this point:
>
>
> *** Vizio must provide us with instructions (or scripts) that allow us
> to install the GPLed components on the TV ***
>
>
> We have not received such instructions/scripts yet. Below is the rest
> of our analysis.
>
> We have reviewed the new "make" file along with the other 3 files
> previously provided. We were able to complete all the steps until the
> end of this line:
>
> cd release/apollo/oss/source/bash;make;make install
>
> However, even though the scripts appeared to finish without error,
> when we reviewed the tree of files before and after the "make install"
> step, we could not find any differences related to Bash. In
> particular, there was nothing that might suggest to us how to install the built "bash"
> file onto the TV.
>
> (Also, we note that Vizio has not provided the source code for "make"
> yet, but as mentioned in our previous email, we are willing to wait
> for that, even if it takes until after the installation instructions
> for the rest of the components are ready.)
>
>
> We have mentioned the need for installation scripts in every single
> one of our reports on the six CCS candidates we have received from Vizio.
> And we have specifically highlighted installation instructions as an
> item for Vizio to pay special attention to in five of those six reports.
>
> While we do appreciate that Vizio has improved in other ways with its
> CCS candidates along the way (especially in this most recent
> candidate), we are extremely disappointed that no progress has been
> made on the installation scripts, particular since we have repeatedly
> reminded Vizio of this requirement, and even provided Vizio with an
> example to work from in the majority of our reports:

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>
> https://compliance.guide/pristine‐example
>
> (see the sections starting at
> https://copyleft.org/guide/comprehensive‐gpl‐guidech22.html#x29‐167000
> 21.4
> in particular)
>
>
> Though we believe Vizio should be able to easily provide these
> instructions to us within a week (due to our repeated reminders that
> they are required), in light of the upcoming US federal holiday and
> the possibility that Vizio may need more time, we are extending Vizio
> a two‐week deadline on this matter.
>
>
> *** We expect Vizio to send us installation scripts/instructions that
> let us install the GPLed components on the TV by the end of the day on
> Wednesday, December 4. ***
>
>
> Please let us know immediately if you believe this will not be
> possible, and explain why that is the case.
>
> Again, as Conservancy's counsel described to Vizio, we are willing to
> accept an affidavit explaining how Vizio's supplier did not provide
> source code to Vizio, in which case we can take up this matter with
> them instead of Vizio. Please let us know if you would like to do that.
>
> We are happy to answer any questions you may have in the meantime.
>
> Denver
>




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